            Case 4:18-cv-00143-DCN Document 49 Filed 04/05/19 Page 1 of 3




Raymond D. Powers
ISB # 2737; rdp@powersfarley.com
Portia L. Rauer
ISB # 7233; plr@powersfarley.com
Andrew J. LaPorta
ISB # 10483; ajl@powersfarley.com
POWERS FARLEY, PC
702 West Idaho Street, Suite 700
Boise, ID 83702
Post Office Box 9756
Boise, ID 83707
Telephone: (208) 577-5100
Facsimile: (208) 577-5101
W:\41\41-036\Motions\MSJ\Motion.docx


Attorneys for Defendants Gerald E. Mortimer, M.D.
     and Linda G. McKinnon Mortimer


                                       IN THE UNITED STATES DISTRICT

                                  COURT FOR THE DISTRICT OF IDAHO

 SALLY ASHBY, an individual, and
 HOWARD FOWLER, an individual,
                                                         Case No. 4:18-CV-00143-DCN
                              Plaintiffs,
                                                         DEFENDANT GERALD E.
 vs.                                                     MORTIMER, M.D.’S MOTION FOR
                                                         SUMMARY JUDGMENT
 GERALD E. MORTIMER, M.D., and
 OBSTETRICS AND GYNECOLOGY
 ASSOCIATES OF IDAHO FALLS, P.A. an
 Idaho professional corporation,

                              Defendants.


         COMES NOW Defendant, Gerald E. Mortimer, M.D., by and through his undersigned

counsel of record, Powers Farley, PC, and pursuant to Rule 56(a) of the Federal Rules of Civil

Procedure, respectfully moves this Court for an order granting summary judgment in his favor and

DEFENDANT GERALD E. MORTIMER, M.D.’S MOTION FOR SUMMARY JUDGMENT - 1
          Case 4:18-cv-00143-DCN Document 49 Filed 04/05/19 Page 2 of 3



dismissing, with prejudice, the Complaint in this matter. This motion is made on the grounds that:

Plaintiffs have failed to establish a prima facie case of medical malpractice, and, plaintiffs cannot

prove their medical malpractice claim because they have failed to show any physical injury or

damage.

       This motion is supported by the pleadings and records on file herein, as well as the

memorandum in support of summary judgment, the statement of undisputed facts, and the

declaration of Andrew J. LaPorta filed contemporaneously herewith.

       ORAL ARGUMENT IS REQUESTED.

       DATED this 5th day of April, 2019.

                                              POWERS FARLEY, PC



                                              By_ /s/ Portia L. Rauer                         l
                                                 Raymond D. Powers - Of the Firm
                                                 Portia L. Rauer - Of the Firm
                                                 Andrew J. LaPorta – Of the Firm
                                                 Attorneys for Defendants Gerald E. Mortimer,
                                                 M.D. and Linda G. McKinnon Mortimer




DEFENDANT GERALD E. MORTIMER, M.D.’S MOTION FOR SUMMARY JUDGMENT - 2
         Case 4:18-cv-00143-DCN Document 49 Filed 04/05/19 Page 3 of 3



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 5th day of April, 2019, I caused to be served a true copy
of the foregoing DEFENDANT GERALD E. MORTIMER, M.D.’S MOTION FOR
SUMMARY JUDGMENT, electronically through the CM/ECF system, which caused the
following parties or counsel to be served by electronic means, as more fully reflected on the Notice
of Electronic Filing:

 Jillian A. Harlington, jharlington@walkerheye.com
 Matthew M. Purcell, mp@purcellfamilylaw.com
 Shea C. Meehan, smeehan@walkerheye.com
 Attorneys for Plaintiffs

 J. Michael Wheiler, wheiler@thwlaw.com
 Richard R. Friess, friess@thwlaw.com
 Attorneys for OB-GYN Associates


                                               /s/ Portia L. Rauer                         l
                                              Raymond D. Powers
                                              Portia L. Rauer
                                              Andrew J. LaPorta




DEFENDANT GERALD E. MORTIMER, M.D.’S MOTION FOR SUMMARY JUDGMENT - 3
